                  Case 2:09-cr-00262-JCM-GWF              Document 272         Filed 06/06/12      Page 1 of 2



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                                                     UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                       2:09-CR-262 JCM (RJJ)
                  8     UNITED STATES OF AMERICA,

                  9                     Plaintiff,
                10      v.
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                        ADRIAN FUENTES GARCIA,
                12
                                        Defendants.
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                14                                                  ORDER
                15           Presently before the court is defendant Adrian Fuentes Garcia’s motion to equitably toll the
                16    statute of limitations related to Mr. Fuentes’ 28 U.S.C. § 2255 motion to vacate. Doc. #270. The
                17    court previously granted the government’s motion to dismiss the § 2255 motion. Doc. #265.
                18           The court interprets Mr. Fuentes’ motion as a motion to reconsider the previous dismissal
                19    order. Mr. Fuentes makes arguments speaking directly to the government’s reply brief and the
                20    analysis contained in the court’s order. Motions for reconsideration “should not be granted, absent
                21    highly unusual circumstances.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir.
                22    2000). These circumstances are present where “the district court is presented with newly discovered
                23    evidence, committed clear error, or if there is an intervening change in the controlling law.” Id.
                24    Defendant’s motion fails to persuade the court that any of these three circumstances are present.
                25           This court previously dismissed the motion because the materials defendant claimed he
                26    needed to properly support his habeas petition were irrelevant to the ineffective assistance of counsel
                27    claims the motion raised. The motion to reconsider does not illustrate a link between the needed
                28
James C. Mahan
U.S. District Judge
                  Case 2:09-cr-00262-JCM-GWF            Document 272        Filed 06/06/12      Page 2 of 2



                  1   documents and the arguments made in the habeas petition. Therefore, the court denies the motion
                  2   to reconsider.
                  3          Accordingly,
                  4          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the defendant’s motion
                  5   to equitably toll the statute of limitations (doc. #270) be, and the same hereby is, DENIED.
                  6          DATED June 6, 2012.
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                                                            UNITED
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                                                                ED STATES
                                                                   STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
